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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-61334-CIV-MORENO

JOE HAND PROMOTIONS, INC., as
Broadcast Licensee of the August 26, 2017
Mayweather vs. McGregor Match,

Plaintiff,
vs.

JEFFREY ASESOR, individually, as as
officers, directors, shareholders, principals,
managers and/or members of FLORIDA
MARTIAL ARTS LLC d/b/a PREMIER
MARTIAL ARTS, ELIZABETH ASESOR,
individually, and as officers, directors,
shareholders, principals, managers and/or
members of FLORIDA MARTIAL ARTS LLC
d/b/a PREMIER MARTIAL ARTS, FLORIDA
MARTIAL ARTS LLC d/b/a Prernier Martial
Arts,

Defendants.
/

 

ORDER GRANTING PLAINTIFF’S MOTION FOR DEFAULT FINAL JUDGMENT

THIS CAUSE came before the Court upon Plaintiff’s Motion for Default Judgment
(D.E. 12), filed on November 19, 2018. Defendants Jeffrey Asesor and Elizabeth Asesor,
individually, and as officers, directors, shareholders, principals, managers and/or members of
Defendant Florida Martial Arts LLC, a'/b/a Premier Martial Arts, failed to plead or otherwise
defend this action and default was entered against each Defendant. (See D.E. 11.) Now,
Plaintiff submits affidavits demonstrating: (l) Defendants are jointly and severally liable to
Plaintiff (and requesting damages totaling $225,000); (2) Defendants are not infants or

incompetent persons or in the military service of the United States; and (3) Plaintiff incurred

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costs and attorneys’ fees totaling $7,282.50.
Plaintiffs Motion asks the Court to award Plaintiff a total of $232,282.50 after the
Defendants defaulted. Plaintiff’s damages request breaks down as follows:
0 $10,000 per Defendant ($30,000 total) pursuant to 17 U.S.C. § 504(c)(1);
0 $30,000 per Defendant ($90,000 total) pursuant to 17 U.S.C. § 504(0)(2);

0 $10,000 per Defendant ($30,000 total) pursuant to 47 U.S.C.
§ 605(€)(3)(€)@)(11);

0 $25,000 per Defendant ($75,000 total) pursuant to 47 U.S.C.
§ 605(€)(3)(€)(ii); and

0 $2,427.50 per Defendant ($7,282.50 total) for costs and attorneys’ fees
pursuant to 47 U.S.C. § 605(e)(3)(B)(iii).

(See D.E. 12 at 1~3.) Under applicable federal law, the Court is only required to award damages
in the following amounts:

0 l7 U.S.C. §504(0)(1) - “[A] sum of not less than $750 or more than
$30,000 as the court considers just.”;

¢ 17 U.S.C. §504(c)(2) - “[T]he court in its discretion may increase the
award of statutory damages to a sum of not more than $150,0()0 . . . .”;

¢ 47 U.S.C. § 605(€)(3)(€)(i)(ll) - “[A] sum of not less than $1,000 or more
than $10,000, as the court considers just . . . .”;

0 47 U.S.C. § 605(e)(3)(C)(ii) - “[T]he court in its discretion may increase
the award of damages, whether actual or statutory, by an amount of not
more than $100,000 . . . .”; and

0 47 U.S.C. § 605(e)(3)(B)(iii) - “[S]hall direct the recovery of full costs,
including awarding reasonable attorneys’ fees to an aggrieved party who
prevails . . . .”

Thus, under federal law_in stark contrast to the $225,000 in damages requested by Plaintiff
under statute-the Court is only required to award Plaintiff a total of $10,500, plus costs and

reasonable attomeys’ fees: $750 per Defendant (S4,500 total) pursuant to Sections 504(c)(l)

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and 504(c)(2); $l,OOO per Defendant ($6,000 total) pursuant to Sections 605(e)(3)(C)(i)(ll) and
605(€)(3)(C)(ii); plus costs and reasonable attorneys’ fees pursuant to Section 605(e)(3)(B)(iii).

THE COURT has considered the motion, the pertinent portions of the record, and is

otherwise fully advised in the premises. In light of Defendants defaulting in this matter, the
Court finds it reasonable and just to award Plaintiff the minimum authorized damages under
federal law, $10,500, in addition to costs and reasonable attorneys’ fees totaling SS,000,1 for a
total judgment of 515,500. Accordingly, it is

ORDERED and ADJUDGED that:

(1) Plaintiff s Motion (D.E. 12) is GRANTED as follows: Plaintiff shall recover from
Defendants, jointly and severally, the principal amount of $10,500 with costs and
reasonable attorneys’ totaling $5,000, for a total judgment of $15,500, with interest as
provided by law; and

(2) Plaintiffs Motion for Default Judgment With Supporting Memorandum of Law
(D.E. 13) and Plaintiff’s Motion to File Video Disks in Support of Motion for Default

Judgment (D.E. 22) are both DENIED AS MOOT.

/l¢
DONE AND ORDERED in Chambers at Miami, Florida, this g } of February
2019.

 

 

1 The Court finds $5,000 in costs and reasonable attorneys’ fees entirely reasonable and
just under § 605(€)(3)(B)(iii) because_even after Defendants defaulted in this matter-
Plaintiff’ s counsel filed within a period of 15 days and totaling more than 75 pages: three
motions (D.E. 12-13, 22), three detailed supporting affidavits and exhibits (D.E. 14-16), two
notices (D.E. 17 , 19), a separate statement of judgement (D.E. 18), and also unnecessarily sent
courtesy copies to chambers (see D.E. 21). The Court appreciates the thoroughness of Plaintiff’s
counsel, but thoroughness does not warrant more than $5,000 in costs and attorneys’ fees in such
a straightforward case where Defendants never appeared

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Copies furnished to:

Counsel of Record

 

 

